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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

   UNITED STATES OF AMERICA,

          Plaintiff,

   v.                                            Case No. 2:15-cr-106-FtM-38MRM

   ROSE ANN LABARBERA,

          Defendant,

          and

   ICMA-RC,
         Garnishee.
   ____________________________________

                             FINAL ORDER IN GARNISHMENT

          THIS CAUSE comes for consideration upon the United States of America’s

   Unopposed Motion for Entry of Final Order in Garnishment (Doc. #147) filed on March

   1, 2017, pursuant to 28 U.S.C. ' 3205(c)(7) against Defendant Rose Ann Labarbera’s

   IRA accounts or other retirement accounts held by ICMA-RC. The Court, having

   considered the instant Unopposed Motion for Entry of Final Order in Garnishment,

   finds that the entry of a final order in garnishment is in all respects proper.

          Accordingly, it is now ORDERED, that the United States of America’ s

   Unopposed Motion for Entry of Final Order in Garnishment is GRANTED.

          It is further ORDERED, that Garnishee ICMA-RC shall forthwith liquidate the

   full, current balance of the Defendant’s nonexempt interest in her IRA accounts or

   other retirement accounts, not to exceed $81,825.95, for application to her restitution
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   obligation. The payment made to the United States pursuant to this Order shall bear

   the notation “Rose Ann Labarbera, 2:15-cr-106-FtM-38MRM,” be made payable to

   “Clerk, United States District Court,” and be sent to:

                 Clerk, United States District Court
                 ATTN: DCU
                 401 West Central Boulevard, Suite 1200
                 Orlando, Florida 32801

          It is further ORDERED that upon payment to the United States of the proceeds

   of the Defendant’s nonexempt interest in her IRA accounts or other retirement

   accounts, the Writ of Garnishment directed to ICMA-RC, shall terminate pursuant to

   28 U.S.C. § 3205(c)(10).

          DONE and ORDERED at Fort Myers, Florida, on this 2nd day of March, 2017.




   Copies: All Parties of Record
